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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF INDIANA
                              TERRE HAUTE DIVISION

WESLEY IRA PURKEY,                                             )
                                                               )
                             Petitioner,                       )
                                                               )
                   v.                                          ) Cause No. 2:19-cv-00414-JPH-DLP
                                                               )
WARDEN OF USP TERRE HAUTE,                                     )
UNITED STATES OF AMERICA,                                      )
                                                               )
                             Respondents.                      )

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                                                         Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing was delivered on
September 27, 2019, to the CM-ECF system of the United States District Court for the
Southern District of Indiana for electronic delivery to all counsel of record.

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